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Tina Kotek, Governor




 March 11, 2025

 Representative Jason Kropf, Chair
 Representative Willy Chotzen, Vice-Chair
 Representative Kim Wallan, Vice-Chair
 House Committee on Judiciary
 900 Court Street NE
 State Capitol
 Salem, OR 97301

 SUBJECT: Support for HB 3501-3

 Chair Kropf, Vice-Chair Chotzen, Vice-Chair Wallan, and members of the
 committee,

 We are writing to outline how HB 3051, with the proposed -3 amendment, works
 and why it is important for both the Oregon State Hospital (OSH) and the larger
 behavioral health system.

 Aid & Assist

 As background, let us briefly explain what brought us here.

 When a person is charged with a crime but is found by a court to be unable to aid
 and assist in their own defense due to mental illness, and to require hospital care,
 they are ordered to OSH. The hospital’s task is to restore them to competence so
 they can stand trial, assuming they can be restored.

 Over the past two decades, the average number of orders OSH receives each
 month to admit patients under an aid & assist commitment has increased
 dramatically. Because OSH has a fixed number of beds and cannot legally exceed
 this number, there have been several consequences:


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       • Nearly all OSH beds are filled by patients under an aid & assist commitment
         or Guilty Except for Insanity (GEI) commitment, leaving almost no beds for
         patients under a civil commitment.
       • Patients under aid & assist orders began to wait for a month or more in jail
         before admission to the hospital.
       • Because of the 2002 Mink federal court injunction, OSH is required to admit
         a patient under an aid & assist order within seven days of the court’s order.
         Oregon and Washington are the only states held to this standard.

    The increased wait times led to legal action against OHA.

    In December 2021, OHA entered into an interim settlement agreement with the
    plaintiffs. This included the federal court appointing Dr. Debra Pinals as a Neutral
    Expert to recommend actions to bring OSH into compliance with the Mink
    injunction.

    Based on Dr. Pinals’s recommendations, the federal court subsequently ordered
    new time limits for hospital restoration and other requirements for admitting,
    assessing, and discharging patients under aid & assist orders. The court also
    directed Dr. Pinals to recommend legislative changes to ensure OSH stayed in
    compliance with the Mink injunction. The court directed OHA to bring these
    changes forward and advocate for them in the Legislature.

    To this end, HB 3051 was introduced as a placeholder pending the substantive
    language that is provided through the -3 amendment. The -3 amendment would
    codify the recommendations in Dr. Pinals’s reports regarding amending the
    restoration limits for defendants committed to the Oregon State Hospital and in
    community restoration.

    Explanation of HB 3051-3

    Section 1: ORS 161.355

    This section adds a definition for “person misdemeanor or contempt charge”.
       • A person misdemeanor would be a Class A misdemeanor as defined by the
          Oregon Criminal Justice Commissions’ rules.

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  • A contempt charge would mean an alleged violation of a court order issued
    under the specified statutes.

This new definition will be used in the next part of the amendment.

Section 2: ORS 161.370

First, this section applies the term “person misdemeanor or contempt charge” to
subsections (4)(a) and (5), where the statute previously used only misdemeanor or
violation. This change limits misdemeanant admissions to OSH and increase the
number of individuals in community restoration, as recommended by Dr. Pinals in
her second report.

Dr. Pinals recommended that OHA, OJD, DRO, and MPD make every effort to
work collaboratively with stakeholders to identify alternatives to using OSH when
there is no real government interest in pursuing prosecution and to work on
alternative community restoration options for defendants charged with
misdemeanors in the aid and assist process. Limiting misdemeanant admissions to
OSH benefits the community and the forensic behavioral health system by
ensuring that the highest level of care in the state is being used for the intended
purpose of the aid and assist system: to ensure that defendants are fit to proceed
for trial. Increasing the number of individuals in community restoration should have
the downstream impact of reducing demand for inpatient restoration at OSH while
simultaneously supporting compliance with Olmstead.

The existing statute discusses both adults and youth. The federal court’s order
does not address youth, so this bill is not intended to affect defendants under the
age of 18. Language has been added to the -3 amendment to ensure the changes
to forensic evaluations and restoration limits do not impact youth who fall under the
adult statute.

This section also modifies timeframes for evaluating whether defendants will gain
or regain fitness to proceed from in “the foreseeable future” to “time remaining for
restoration within the maximum time period established under ORS 161.370 (7).
((6)(a)).” Dr. Pinals recommended this change by highlighting that “evaluations for
community restoration should consider language that indicates likely timing of
restorability that is more specific than ‘in the foreseeable future’, which for the
community could mean at any time in the future.”

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    This language change decreases ambiguity for evaluators rendering an opinion of
    ‘never able’ or ‘medication never’ (meaning that an individual requires treatment
    with psychiatric medication to be restored), which would allow evaluators to more
    efficiently assess whether an individual would benefit from continued restoration
    efforts. Identifying individuals who would not benefit from ongoing restoration
    efforts protects the civil rights of those individuals, ensures that both hospital and
    community restoration resources are being utilized to the maximum benefit, and
    decreases inappropriate reliance on the aid and assist system as an avenue for
    mental health treatment.

    This section also allows for the court to commit a defendant and order that the
    defendant engage in subsequent community restoration services within the same
    hearing, but only if a forensic evaluation indicates there is a substantial probability
    that the additional restoration efforts will cause the defendant to become fit to
    proceed. ((6)(b)). This change means that for a defendant who has already been
    to OSH, if there is no substantial probability that the defendant can be restored, a
    court would not order a defendant to further community restoration.

    The forensic evaluation requirement supports Dr. Pinals’ recommendations in her
    Second Report that “the court, in making its findings, should rely on clinical
    opinions.” This requirement is helpful because it will prevent situations where a
    patient is sent for community restoration even when there is no reason to believe it
    will be effective. There have been instances in which individuals from OSH with a
    “never able” opinion from an FES evaluator returned to the county and
    subsequently were ordered into community restoration on the same case. This
    means they take up a restoration bed that could more beneficially serve another
    patient.

    Next, this section replaces status reports submitted by Community Mental Health
    Programs (CMHPs) to courts with evaluations of the defendant’s community
    treatment status to the court within the same timelines as required of OSH under
    ORS 161.371. ((6)(c)). This addresses the fact that current statute requires
    CMHPs to report back to the court, but does not specify how or how often to do so.
    The amendment applies the same process as applies to the state hospital’s
    reports back to the court.


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There is no current statutory requirement for forensic evaluations for individuals in
community restoration. The proposed language in (6)(c) is intended to ensure that
defendants in community restoration are evaluated by a forensic evaluator
according to the same cadence required by ORS 161.371(1) when individuals are
admitted to OSH. This amendment would support individuals’ civil rights by
ensuring that they are not being subject to a community restoration order simply
because they have not had access to a forensic evaluation. Requiring a regular
cadence of forensic evaluations for individuals in community restoration ensures
that they move forward with their criminal case as soon as they are able to aid and
assist, and allows community beds and other resources to be available for other
individuals in need of restoration services.

Finally, subsection (7) of this section adds timelines for maximum authorized
duration of inpatient and community restoration as follows:
   • Most serious offense of violation, *misdemeanor, or contempt charge (other
      than person misdemeanors or contempt charge): 90 days community
      restoration
   • Most serious offense of person misdemeanor or contempt charge: If
     committed to OSH, 90 days hospital restoration followed by 90 days
     community restoration; OR 90 days of community restoration
   • Most serious offense of felony: If committed to OSH,180 days hospital
     restoration, followed by 90 days of community restoration OR 180 days of
     community restoration
   • Most serious offense of aggravated murder or crimes listed in ORS 137.300
     requiring mandatory sentencing: If committed to OSH, 360 days of hospital
     restoration followed by 180 days of community restoration; OR 360 days of
     community restoration
   • *Misdemeanor/contempt charge means a misdemeanor or contempt charge
     outside of the definition of “person misdemeanor or contempt charge”.

The language regarding hospital restoration limits would be a change to statute but
would not be a change in practice. OSH has been operating under these timelines
since the federal court order in September 2022.

The purpose of these time limits is to ensure that, after reasonable efforts at
restoration in the hospital are made, the hospital bed can be made available to
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    another patient. In turn, this reduces the time that defendants wait in jail for a bed
    to open at the hospital.

    Implementation of the timelines in the September 2022 federal court order resulted
    in a reduction of average length of hospital stay for patients under an aid & assist
    order from 160 days to 130 days, and increased aid & assist admissions by 30%.

    However, beginning in April 2024, the number of aid & assist orders issued by
    courts exceeded 94 per month (the maximum sustainable capacity for the hospital)
    for multiple months in a row. As a result, defendants are again waiting in jail for 20-
    30 days before admission to the hospital.

    Fifty-nine percent of patients with felony charges are evaluated as able or never
    able to aid & assist prior to OSH discharge. This is slightly increased from prior to
    the September 2022 federal court order. So shortening the maximum duration of
    hospital restoration has not affected OSH’s ability to restore these individuals.

    Most patients under an aid & assist commitment who are discharged due to
    reaching the maximum duration of hospital restoration under the federal court
    order have only misdemeanor charges. According to a 2023 study that included
    individuals admitted to OSH for aid and assist orders between 2017-2022, 41% of
    Class A misdemeanors were dismissed following discharge.

    The time limits for restoration in the community (facilities other that OSH) would
    fulfill and codify Dr. Pinals’s recommendation to increase movement of individuals
    through community restoration programs, maximize utilization of community
    resources, and decrease reliance on community restoration as an avenue for
    mental health treatment.

    Currently, there are no statutory time limits on how long a patient can be in
    community restoration. As with time limits for restoration at the hospital, the
    purpose of these community restoration time limits is to ensure that, after
    reasonable efforts at restoration in the community are made, the community bed
    and other resources can be made available to another patient.

    The amendment also states that the maximum time period of commitment and
    community restoration services may not be longer than the time period that the
    defendant may have been sentenced to if convicted. On at least some occasions,
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a patient has stayed in community restoration longer than their sentence would
have been if convicted.

According to CMHP reported data, out of 2160 completed community restoration
cases from 2020 – Quarter 2 of 2024:
  • 577 individuals were in community restoration for 1-90 days;
  • 551 individuals were in community restoration for 91-180 days;
  • 632 individuals were in community restoration for 181-365 days; and
  • 400 individuals were in community restoration for more than 365 days.

Subsection (7) also prescribes how the maximum period of commitment and/or
restoration services is determined. The maximum period of restoration is
determined from the initial date that the defendant is first committed on any charge
in the accusatory instrument. The defendant will be given credit against each
charge for each day committed or ordered to participate in community restoration.
The defendant will also be credited for each day the defendant was held in jail
before and after the date of the first commitment or order to community restoration,
unless charged with aggravated murder or a crime listed in ORS 137.700(2). The
credited days may be consecutive or interrupted, if the defendant had gained or
regained fitness to proceed.

Section 3: ORS 161.371

This section makes ORS 161.371 to be consistent with the changes made in the
previous sections of the bill.

Importance of HB 3051-3

To summarize, HB 3051, with the -3 amendment, writes the court order into state
law, so that the state hospital can better achieve and maintain compliance with
admitting patients under an aid & assist order from jail within 7 days.

However, the benefits go beyond that. It also:
  • Ensures that restoration services are focused on defendants who are
    restorable and for whom the state has an interest in prosecution;

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   • Makes more efficient use of beds at the state hospital, which are the scarcest
     and most expensive treatment beds in the state;
   • Protects defendants’ rights by ensuring that defendants are regularly
     evaluated for competency and are not committed to restoration for longer
     than they would have served if convicted;
   • Encourages flow in the community system, so defendants can better access
     restoration services at the appropriate level of care to meet their needs;
   • Helps forensic evaluators give a more definite opinion of restorability by
     focusing on the available restoration period, which is also better aligned with
     reasonable expectations of medication treatment.

This bill is not the end of the discussion. There are other bills under consideration
this session with the potential to positively impact the entire forensic behavioral
health system. HB 3051 will serve as a foundation for those further efforts.

Thank you for your consideration. Please let us know if you have any questions.

Sincerely,



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Sara C. Walker, MD                           Ebony Clarke
Interim Superintendent                       Behavioral Health Director
Oregon State Hospital                        Oregon Health Authority




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